            Case WAW/2:20-cv-00864 Document 5 Filed 06/17/20 Page 1 of 24



                           BEFORE THE UNITED STATES
                  JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

   IN RE: Paycheck Protection Program (“PPP”)              MDL Docket No. 2950
   Agent Fees Litigation


       RESPONSE IN OPPOSITION TO MOTION FOR TRANSFER OF ACTIONS
                       PURSUANT TO 28 U.S.C. § 1407

        Undersigned Defendants,1 by their counsel and pursuant to Rule 6.1(c) of the Rules of

Procedure for the United States Judicial Panel on Multidistrict Litigation, oppose Alliant CPA

Group LLC’s (“Movant”) Motion for Transfer of Actions to the Northern District of Georgia

pursuant to 28 U.S.C. § 1407 for a Coordinated and/or Consolidated Proceeding (the “Motion”).

  I.    INTRODUCTION

        The Motion is one of four pending before the Panel in which various plaintiffs’ counsel

have tried to create the appearance of complex litigation by filing putative class actions across

the country stemming from the recently enacted Coronavirus Aid, Relief, and Economic Security

Act, Pub. L. No. 116-136 (the “CARES Act” or the “Act”), and its small business lending

program, known as the Paycheck Protection Program (“PPP”).

        In the lawsuits underlying the Motion, Movant and other plaintiffs allege that various

defendant lenders (including unnamed “Doe Lenders”) failed to pay fees to purported agents—

such as accountants, a tax preparer, a plaintiffs’ personal injury law firm, and even a video tape



        1
         Synovus Bank; Ameris Bank; Celtic Bank Corp. d/b/a Celtic Bank, MUFG Union Bank
N.A., and MUFG Americas Holding Co.; City National Bank; Fifth Third Bank, National
Association and Fifth Third Bankcorp; First National Bank of Pennsylvania and F.N.B. Corp.;
Harvest Small Business Finance, LLC; Huntington Bancshares Incorporated and The Huntington
National Bank; KeyCorp and KeyBank N.A.; Live Oak Banking Company; MidFirst Bank; The
North Side Bank & Trust Company; PNC Financial Services Group, Inc. and PNC Bank N.A.;
ServisFirst Bank; Truist Bank and Truist Financial Corporation; and U.S. Bancorp and U.S.
Bank National Association.
         Case WAW/2:20-cv-00864 Document 5 Filed 06/17/20 Page 2 of 24



duplicating company—that allegedly assisted small businesses in applying for PPP loans. Those

cases, now known to the Panel as the Agent Fee Cases, were filed in federal and state courts

nationwide. See JP Morgan Chase Bank, N.A.’s Consolidated Response in Opposition at 2, In re

JPMorgan Chase Paycheck Prot. Plan Litig., No. 2944 (J.P.M.L. May 29, 2020), ECF No. 69.

Ten of the twelve cases referenced in the Motion were filed by the same plaintiffs’ firms. The

scope of this proposed MDL is breathtaking. Unlike other proposed MDLs, which concern

another aspect of the CARES Act and/or seek to bring together suits involving a single financial

institution, this Motion seeks to sweep into one centralized proceeding actions against some 80

banks ranging from the largest in the country to smaller community banks, and every variety in

between. Not surprisingly, the number of PPP loans issued by these banks range from in the

hundreds to far more than a hundred thousand. The vast majority of defendants have been sued

in only one or two of the lawsuits.

       The only thing that these cases have in common is a baseless legal theory. Neither the

CARES Act nor its implementing regulations grant self-declared “agents” the claimed

entitlement to be paid by lenders. Even if it did, the statute does not provide a private right of

action for agents to enforce that supposed entitlement. Many of the state law claims asserted by

the plaintiffs likewise fail because they are based on the false theory that federal law creates an

entitlement to fees. Others fail for additional reasons that are specific to the various state law

claims asserted.

       The facts at issue are extremely case-specific. This is not surprising given the number of

different financial institutions sued. Thus, if the suits survive motions to dismiss, which they

should not, plaintiffs’ claims will depend entirely on myriad factual questions unique to each

lender and each alleged agent. Whether a particular agent is entitled to a particular fee may


                                                  2
           Case WAW/2:20-cv-00864 Document 5 Filed 06/17/20 Page 3 of 24



depend on the particular policies and procedures of the bank through which the loan was funded;

whether the agent made a pre-suit demand for a fee; the interaction, if any, between the bank and

the agent; whether the particular services provided were reasonable and the fee clamed

justifiable; whether the agent can provide documentation demonstrating such work; and other

fact-intensive issues. The complaints themselves affirm that the facts are different as to each

bank because they allege that the banks have adopted differing policies about paying agent fees.

For example, the complaints themselves allege that some banks have stated upfront that they will

not pay agent fees, others allegedly have paid less than the maximum amounts specified by the

SBA’s PPP rule (to which plaintiffs claim an entitlement irrespective of whether the work was

reasonable and the claimed fee justifiable), and still others are allegedly making it difficult for

the agents to obtain fees, which plaintiffs equate with “effective denial.” See, e.g., Mot. Ex. A

(Alliant Compl. ¶ 46), ECF 1-6.

          Transfer of these actions would not, and is not intended to, aid in the resolution of these

varied factual questions. Transfer would also not be convenient for the parties or efficient in any

way. The obvious truth is that plaintiffs’ counsel have filed multiple cases in an attempt to create

the appearance that centralization is appropriate. The Panel is “typically hesitant to centralize

litigation on an industry-wide basis,” In re AndroGel Prods. Liab. Litig., 24 F. Supp. 3d 1378,

1379 (J.P.M.L. 2014), but that is precisely what Movant seeks. There is a good reason for that

rule: Industry-wide MDLs impose significant litigation costs on defendants who are sued in only

a small number of actions. The Panel should deny the Motion.

 II.      BACKGROUND

       A. The Enactment of the CARES Act and PPP

          On March 27, 2020, President Trump signed the CARES Act into law. The Act directed

the Small Business Administration (“SBA”) to establish a new loan program for small
                                                    3
           Case WAW/2:20-cv-00864 Document 5 Filed 06/17/20 Page 4 of 24



businesses, called the PPP. The PPP was created under Section 7(a) of the Small Business Act,

which provides the statutory authorization for the federal government’s primary small business

loan program. 15 U.S.C. § 636(a)(36). Under the PPP, the SBA guarantees 100 percent of loans

made by eligible lenders to eligible borrowers. Id. § 636(a)(2)(F). SBA reimburses lenders for

making PPP loans through a loan-processing fee, with the reimbursement amount determined

based on the size of the loan. See id. § 636(a)(36)(P)(i). The application for a PPP loan is

straightforward. It is two pages in length, including signature lines, and contains just eight

questions. It contains no field to identify agents. The application was designed to be simple so

that the overwhelming majority of small businesses, including non-profits and sole

proprietorships, could complete the application without assistance. 2

       The underlying cases concern the role of agents in the PPP. Congress delegated to the

SBA the authority to set a maximum limit for fees paid to agents who assist borrowers with

preparing a PPP loan application, providing that “[a]n agent that assists an eligible recipient to

prepare an application for a covered loan may not collect a fee in excess of the limits established

by the Administrator.” Id. § 636(a)(36)(P)(ii). Congress did not otherwise modify the existing

regulatory framework applicable to agents assisting lenders and borrowers with Section 7(a)

loans or delegate to the SBA the authority to do so. See id. § 636(a)(36)(B). Congress did not

delegate to the SBA authority to permit borrowers to hire agents at lenders’ expense.




       2
          The Association of International Certified Professional Accountants (“AIPCA”)
explained that it was their “understanding that many [CPA] firms do not intend to charge clients
for the PPP application process for several reasons,” including because “[t]he application itself is
fairly straight forward and can be completed by the small business.” AIPCA, Small Business
Loans Under the Paycheck Protection Program: Issues Related to CPA Involvement (2020)
(hereinafter “AICPA Report”) [attached hereto as Ex. A].

                                                 4
         Case WAW/2:20-cv-00864 Document 5 Filed 06/17/20 Page 5 of 24



       On April 15, 2020, the SBA promulgated the First Interim Final Rule, 85 Fed. Reg. at

20,811 (“First IFR”), that, among other things, exercised the SBA’s statutory authority to

establish monetary limits on agent fees. The First IFR posed the question, “Who pays the fee to

an agent who assists a borrower?” Id. at 20,816. The answer provided is that “an agent may

collect from the lender for assistance in preparing an application for a PPP loan” a fee of not

more than that set out in a schedule based on loan amount. Id. It made clear that “[a]gent fees

will be paid by the lender out of the fees the lender receives from SBA” and not by the borrower

or “out of the PPP loan proceeds.” Id. The SBA was obviously concerned that supposed agents

would take advantage of applicants in what was designed to be a simple, straightforward

application process. Notably, the SBA’s First IFR does not state that lenders must pay agent fees

regardless of whether work by an agent has been authorized by the lender and does not permit

borrowers to hire agents at lenders’ expense. It merely sets a limitation on amount and source of

payment, in the event there is an agreement to pay. And of course, the IFR could not do

anything more as that was the limit of the authority granted by Congress.

       On April 22, 2020, shortly after the First IFR was released, the AICPA released a special

report on the PPP confirming that potential agents understood that the First IFR did not create an

entitlement to fees. The report advises that “CPAs should note, that even though the Treasury

has outlined guidelines related to agency fees, there is a possibility that you will not be paid for

your services, even when noting you are an agent to the application . . . . It is important to

discuss this issue with clients and the banks to ensure there is an understanding, preferably in

writing, as to how and when any fees will be paid.” AIPCA Report at 3 (emphasis added).




                                                  5
           Case WAW/2:20-cv-00864 Document 5 Filed 06/17/20 Page 6 of 24



   B. The Agent Fee Cases

       On April 26, 2020, ServisFirst Bank and Synovus Trust Company, N.A.,3 were sued by

Sport & Wheat CPA PA in the first of the Agent Fee Cases. Since then numerous other such

cases have been filed, including those underlying the Motion, which name more than 80 alleged

PPP lenders. Plaintiffs have brought these cases as putative class actions in which agents

claiming to have assisted clients in obtaining PPP loans from dozens of different banks seek to

recover for all supposed such agents nationwide. Plaintiffs’ claim that billions of dollars are

owed is based on the unsupportable presumptions that every single PPP loan involved an agent

and that every single supposed agent would be entitled to a fee and that the fees would in every

instance be the maximum fee permissible. Plaintiffs have brought the suits underlying the

Motion in ten different federal jurisdictions, claiming an entitlement to fees under the CARES

Act, which does not include a private right of action. The state law theories for plaintiffs’

supposed entitlement to fees, based on the laws of ten different states, variously include

conversion, unjust enrichment, quantum meruit, misappropriation, breach of contract, quasi-

contract, unfair trade practices, and violations of state consumer protection and unfair trade

practice laws. All of those state law claims are based on the false theory that federal law creates

an entitlement to fees and also fail for reasons specific to the various state law claims asserted.

III.   LEGAL STANDARD

       The Panel is authorized to transfer civil actions “pending in different districts” to a single

district “for coordinated or consolidated pretrial proceedings.” 28 U.S.C. § 1407(a). But transfer

and centralization are not appropriate unless: (1) the civil actions involve “one or more common


       3
         Although the original complaint named Synovus Trust Company N.A., the proper
defendant entity is Synovus Bank. See Am. Class Action Compl., Sport & Wheat CPA PA v.
ServisFirst Bank Inc., No. 3:20-cv-05425-TKW-HTC (N.D. Fla. May 27, 2020), ECF No. 21.

                                                  6
           Case WAW/2:20-cv-00864 Document 5 Filed 06/17/20 Page 7 of 24



questions of fact”; (2) transfer will be “for the convenience of parties and witnesses”; and (3)

transfer will “promote the just and efficient conduct of such actions.” Id. (emphasis added). The

party seeking consolidation bears the burden of showing that transfer “will further the purposes

of Section 1407.” In re Cable Tie Patent Litig., 487 F. Supp. 1351, 1354 (J.P.M.L. 1980).

Movant has not met and cannot meet its burden to establish any one of those purposes.

Consolidation under Section 1407 “should be the last solution after considered review of all

other options.” In re Best Buy, Co. Cal. Song-Beverly Credit Card Act Litig., 804 F. Supp. 2d

1376, 1378 (J.P.M.L. 2011) (emphasis added). An MDL for these cases would be a solution to

nothing.

IV.      ARGUMENT AND AUTHORITIES

      A. Movant Cannot Meet Its Burden to Show that the PPP Agent Cases Involve
         Substantial Common Questions of Fact.

        Centralization is inappropriate because these actions—in which different purported agents

have sued different lenders in connection with different PPP applications, submitted at different

times and places on behalf of different borrowers—do not implicate any common questions of

fact. Even if these actions did implicate common questions of fact (and they do not), individual

factual questions would predominate over common questions. If these actions have anything in

common at all, it is a single fallacious legal theory: that federal law entitles a supposed agent to

a fee irrespective of whether the bank agreed to pay it a fee, or was even asked to consider

approving a fee, and irrespective of the reasonableness of the claimed work, or whether the

claimed fee is justifiable. However, as the Panel has made clear, the existence of common

questions of law is not a basis for centralization.




                                                  7
         Case WAW/2:20-cv-00864 Document 5 Filed 06/17/20 Page 8 of 24



       1. The Agent Fee Cases Do Not Raise Common Questions of Fact.

       Mere numerosity of actions does not justify centralization. See In re Not-for-Profit

Hospitals/Uninsured Patients Litig., 341 F. Supp. 2d 1354, 1356 (J.P.M.L. 2004). If it did, then

plaintiffs’ counsel could manufacture an argument for an MDL simply by filing virtually

identical lawsuits in various courts, as they attempt to do here. Instead, only “civil actions

involving one or more common questions of fact” may be centralized. 28 U.S.C. § 1407(a).

Movant cannot meet its burden to show common questions of fact here.

       First, Movant does not demonstrate that these actions share any common questions of

fact. Defendants have in common only that they are financial institutions that are alleged to have

made loans under the PPP. Beyond that, other questions—such as whether lenders developed

specific policies and practices with respect to agents—are highly individualized. Some banks

may not have developed any policies and practices at all. To the extent others did, the questions

of what those policies are, how they were implemented, and whether and how they were

communicated to borrowers and agents will necessarily differ from institution to institution and

from agent to agent. Indeed, Movant itself alleges that these defendants have taken a variety of

approaches to compensating purported agents, with some allegedly stating upfront that they will

not pay agent fees, others allegedly paying less than the amounts supposedly required by the

SBA’s PPP rule, “and/or . . . effectively den[ying] payment” of such fees by somehow hindering

agents from claiming fees. See Mot. Ex. A (Alliant Compl. ¶ 46), ECF 1-6.

       If any cases survive motions to dismiss, individualized determinations may include:

(i) whether there were specific communications between or among the bank, borrower, and/or

agent on the issue of agent fee payment; (ii) whether each borrower agreed to the agency and the




                                                  8
           Case WAW/2:20-cv-00864 Document 5 Filed 06/17/20 Page 9 of 24



agreed terms, (iii) the specific services the agent provided,4 (iv) the value of those services; and

(v) whether the lender, as a matter of business judgment, decided to pay agent fees even though

there is no legal requirement that it do so. The degree to which an agent’s services would be

useful to a PPP applicant, and thus whether its claimed fee would be reasonable, will vary

significantly based on the size of an applicant, its type of business, and the particular

circumstances of the applicant. And because the regulations set out a cap on agent fees but not a

specific amount of fee that must be paid to agents, the value of each putative agent’s assistance

will be different and require a separate reasonableness analysis. Thus, the relationship of each

financial institution with the purported agents, each institution’s implementation of the PPP and

its communications, if any, with the agents, and the nature and value of any work performed by

putative agents are all highly individualized. In short, there are no common issues of fact across

all of these cases. See In re Hotel Indus. Sex Trafficking Litig., 2020 WL 581882, at *2

(J.P.M.L. Feb. 5, 2020) (denying centralization of actions alleging that various hotel chains

knowingly profited from sex trafficking, where “[t]he vast majority of actions involve different

hotels,. . . different alleged sex trafficking ventures, different hotel brands, different owners and

employees, different geographic locales, different witnesses, different indicia of sex trafficking,

and different time periods,” and where the absence of a “common or predominant defendant

across all actions[] further indicat[es] a lack of common questions of fact”); In re Mortg. Lender


       4
         When making Section 7(a) loans, including PPP loans, SBA requires “[t]otal
compensation charged by an Agent or Agents to an Applicant for services rendered in connection
with obtaining an SBA-guaranteed loan [to] be reasonable,” 13 C.F.R. § 103.5(b), and requires
agents paid in excess of $2,500 to provide, at minimum, “1) a detailed explanation of the work
performed; and 2) the hourly rate and the number of hours spent working on each activity,” SBA
Form 159 (04-18) at 1. Further, the SBA may also require itemization for amounts below
$2,500, and all amounts must be reasonable. The SBA Form 159 states: “Note: SBA, in its
discretion, may request an itemization and supporting documentation for any fee charged in
connection with an SBA loan application, regardless of the amount.” Id. at 2.

                                                  9
         Case WAW/2:20-cv-00864 Document 5 Filed 06/17/20 Page 10 of 24



Force-Placed Ins. Litig., 895 F. Supp. 2d 1352, 1353–54 (J.P.M.L. 2012) (denying centralization

of cases “involv[ing] not only different defendants but different lender agreements with insurers,

different alleged abuses, and different mortgage loan documents”).

         Second, even if these cases were to raise some common factual issues, those common

issues would not predominate. To justify centralization, common issues must “predominate over

individual factual issues.” In re Westinghouse Elec. Corp. Emp’t Discrimination Litig., 438 F.

Supp. 937, 938 (J.P.M.L. 1977) (emphasis added); see also In re American-Manufactured

Drywall Prods. Liab. Litig., 716 F. Supp. 2d 1367, 1368 (J.P.M.L. 2010); In re Pharmacy Benefit

Plan Adm’rs Pricing Litig., 206 F. Supp. 2d 1362, 1363 (J.P.M.L. 2002). As explained above,

the circumstances of each and every claim to entitlement to a fee are specific to each plaintiff,

defendant, and PPP loan transaction. None of these issues is susceptible to coordinated

discovery, let alone warrants centralization. See In re Pharmacy Benefit Plan Adm’rs Pricing

Litig., 206 F. Supp. 2d 1362, 1363 (J.P.M.L. 2002) (finding transfer inappropriate where “unique

questions of fact predominate over any common questions of fact”); Westinghouse, 438 F. Supp.

at 938. Centralization would thus neither eliminate nor streamline the pretrial process. To the

contrary, it would place upon one transferee court an undue burden that could be addressed more

efficiently and with greater local expertise by the courts in which these actions were originally

filed.

         2. The Agent Fee Cases Contain, at Most, Common Questions of Law.

         To be sure, these actions may raise some common questions of law. But the existence of

common questions of law is irrelevant for centralization purposes, because “common legal

questions do not satisfy Section 1407’s requirement of common factual questions.” In re

Veroblue Farms USA, Inc., 2020 WL 581888, at *2 (J.P.M.L. Feb. 5, 2020); see also, e.g., In re

Nat’l Ass’n for Advancement of Multijurisdiction Practice Litig., 52 F. Supp. 3d 1377, 1378
                                                 10
         Case WAW/2:20-cv-00864 Document 5 Filed 06/17/20 Page 11 of 24



(J.P.M.L. 2014) (finding that “common legal questions are insufficient to satisfy Section 1407’s

requirement of common factual questions”); In re Medi-Cal Reimbursement Rate Reduction

Litig., 652 F. Supp. 2d 1378, 1378 (J.P.M.L. 2009) (denying transfer and consolidation where the

actions “by and large, raise strictly legal issues”).

        Here, the Agent Fee Cases all appear to present a common legal question: whether

Congress enacted a statute that requires lenders, with no relationship to agents, to pay for

services that such lenders never approved or authorized, without any consideration given to

whether the services were actually performed or reasonable or the claimed fee is justifiable. The

answer to that question is plainly no, and can be resolved by individual district courts in the

ordinary course by reference to the operative statute and regulations.

        The fact is that these plaintiffs do not even have the right to sue. The CARES Act does

not contain an express private right of action. Profiles, Inc. v. Bank of Am. Corp., 2020 WL

1849710, at *7 (D. Md. Apr. 13, 2020) (“[T]he CARES Act does not expressly provide a private

right of action.”). Plaintiffs in the underlying actions concede as much by seeking a declaratory

judgment under the Declaratory Judgment Act, rather than the CARES Act itself. But the

Declaratory Judgment Act does not create a private right of action either. See, e.g., Rebuild Nw.

Fla., Inc. v. Fed. Emergency Mgmt. Agency, 2018 WL 7351690, at *1 (N.D. Fla. July 12, 2018)

(citing Musselman v. Blue Cross & Blue Shield of Ala., 684 F. App’x 824, 829 (11th Cir. 2017)).

        Nor does the CARES Act create an implied right of action. As courts have repeatedly

held, the Small Business Act, which the CARES Act amends, does not confer a private right of

action at all. See Bulluck v. Newtek Small Bus. Fin., Inc., 2020 WL 1490702, at *3 (11th Cir.

Mar. 27, 2020); United States v. Fidelity Capital Corp., 920 F.2d 827, 838 n.39 (11th Cir. 1991).

Nothing in the CARES Act changes this analysis, and the only court to address whether the


                                                  11
        Case WAW/2:20-cv-00864 Document 5 Filed 06/17/20 Page 12 of 24



CARES Act itself creates a private right of action has held that it does not. See Profiles, 2020

WL 1849710, at *7.

       Even if the CARES Act created a private right of action, whether PPP lenders “must” pay

agents is still fundamentally a question of law that turns on whether the statutory Fee Limit or

regulatory guidance as to “Who pays the fee to an agent who assists a borrower?” created an

affirmative entitlement to some fee. See 15 U.S.C. § 636(a)(36)(P)(ii); 85 Fed. Reg. at 20,816.

In a section captioned “FEE LIMITS,” the CARES Act provides that “[a]n agent that assists an

eligible recipient to prepare an application for a covered loan may not collect a fee in excess of

the limits established by the Administrator.” 15 U.S.C. § 636(a)(36)(P)(ii). That is the entirety

of the statutory language as it relates to agent fees: an establishment of a limitation on agents’

fees and an authorization to the SBA to establish those precise limits. By contrast, the statute

expressly mandates that lenders “shall be reimbursed” at a statutory rate for issuing the PPP

loans. Exercising the limited authority in regard to agent fees, the First IFR (1) sets out a

schedule of maximum fees an agent may collect for assistance in preparing an application for a

PPP loan, and (2) states that such fees will be paid by the lender out of the fees the lender

receives from the SBA instead of by the borrower or out of the loan proceeds. 85 Fed. Reg. at

20,815. Nothing in the First IFR requires a lender to pay agents’ fees. Just like the governing

statute, it is a limitation only on amount and source. Regardless, these common legal questions

do not satisfy Section 1407’s requirement of common factual questions. In re Veroblue Farms

USA, Inc., 2020 WL 581888, at *2 (J.P.M.L. Feb. 5, 2020)

       These cases also present many legal issues that are not common and must be resolved on

a case-by-case basis. In an apparent rush to create the appearance of complex litigation that

would require centralization, plaintiffs filed bare-bones, scattershot complaints that raise


                                                 12
        Case WAW/2:20-cv-00864 Document 5 Filed 06/17/20 Page 13 of 24



threshold legal issues such as standing, ripeness, personal jurisdiction, and even whether

plaintiffs have named proper entities. See, e.g., American Video Duplicating Inc. v. Citigroup,

2:20-cv-03815-ODW-AGR (C.D. Cal. May 18, 2020), ECF No. 27-1. In addition, each of the

various state law claims will vary by state. Because individual district courts can easily resolve

these questions in dispositive motion practice, centralization of the Agent Fee Cases is not

appropriate.

   B. Centralized Industry-Wide Litigation Is Not Warranted.

       Plaintiff’s centralization request should be denied for the additional reason that it is

nothing more than a feeble attempt to centralize litigation on an industry-wide basis, i.e., based

on plaintiffs’ election to sue multiple alleged PPP lenders. But the Panel is “typically hesitant to

centralize litigation on an industry-wide basis.” In re AndroGel Prods. Liab. Litig., 24 F. Supp.

3d 1378, 1379 (J.P.M.L. 2014). “Industry-wide centralization should be the exception, not the

rule” in MDL cases because such actions are “exacerbated by centralization of multiple

defendants facing non-overlapping claims” and “[o]rganization of counsel, both for plaintiffs and

defendants, is challenging.” Chilton Davis Varner, The Beginning of MDL Consolidation:

Should Cases Be Aggregated And Where?, 37 REV. OF LITIG. 227, 234 (2018); see, e.g., In re

Mortgage Industry Home Affordable Modification Program (HAMP) Contract Litig., 867 F.

Supp. 2d 1338, 1338 (J.P.M.L. 2012) (denying centralization because plaintiffs’ allegations of

“similar industry-wide misconduct in mortgage origination, servicing, and foreclosure practices

against, collectively, over forty defendants” did not overcome the lack of common questions of

fact among all defendants).

       Indeed, these cases are similar to other cases where this Panel has denied centralization of

industry-wide cases challenging the practices of financial institutions. See, e.g., In re Credit

Union Checking Account Overdraft Litig., 158 F. Supp. 3d 1363, 1364 (J.P.M.L. 2016); In re
                                                 13
           Case WAW/2:20-cv-00864 Document 5 Filed 06/17/20 Page 14 of 24



Mortg. Lender Force-Placed Ins. Litig., 895 F. Supp. 2d 1352, 1352 (J.P.M.L. 2012); In re Cred.

Card Payment Protection Plan Mktg. & Sales Prac. Litig., 753 F. Supp. 2d 1375, 1375-76

(J.P.M.L. 2010). The Panel should deny consolidation of the Agent Fee Cases for the same

reasons.

   C. Transfer Would Not Serve the Convenience of the Parties and Witnesses and Would
      Not Promote the Just and Efficient Conduct of the Actions.

       The Panel often considers the second and third elements of the Section 1407 inquiry in

tandem. The Panel finds that centralization may “serve the convenience of the parties and

witnesses” and “promote the just and efficient conduct of the litigation” where it would

accomplish such efficiencies as “eliminat[ing] duplicative discovery” or “conserv[ing] the

resources of the parties, their counsel and the judiciary.” In re Airline Baggage Fee Antitrust

Litig., 655 F. Supp. 2d 1362, 1362-63 (J.P.M.L. 2009). The mere presence of “some factual

overlap,” however, will not suffice where the pending actions may “proceed[ ] in an orderly

manner” in their original jurisdictions. In re Joel Snider Litig., MDL No. 2934, 2020 WL

1503250, at *1–2 (J.P.M.L. Mar. 27, 2020). Movants may not “rely on broad similarities among

the actions to support their request for centralization” where—as here—differences give rise to

“unique issues” that “predominate” over alleged common issues. In re Hotel Indus. Sex

Trafficking Litig., 2020 WL 581882, at *2.

       1. Dispositive Motion Practice Offers a Reasonable Prospect to Weed Out Claims.

       The Panel has long recognized that it should not centralize cases when, as here,

dispositive motion practice offers a reasonable prospect to weed out claims and reduce the

number of plaintiffs and cases. See In re ATM Interchange Fee Antitrust Litig., 350 F. Supp. 2d

1361, 1362–63 (J.P.M.L. 2004); In re The Boeing Company Emp’t Practices Litig., 293 F. Supp.

2d 1382, 1383 (J.P.M.L. 2003). Several dispositive motions are currently pending in the courts


                                                14
         Case WAW/2:20-cv-00864 Document 5 Filed 06/17/20 Page 15 of 24



of original jurisdiction, and transfer is likely only to slow this process down. This is an instance

in which “motions to dismiss or remand, raising issues unique to the particular case, may be

particularly appropriate for resolution before the Panel acts on the motion to transfer.” Manual

for Complex Litigation, Fourth § 20.131 (2004).

        2. Other Avenues Should Be Exhausted Before Invoking Centralization.

        Where there are “a relatively small number of actions” and procedural solutions short of

centralization under Section 1407 offer a “reasonable prospect” to “eliminate the multidistrict

character” of the litigation, the Panel should allow these other avenues to be exhausted before

invoking the “last solution” of centralization under Section 1407. In re First Am. Fin. Corp.

Customer Data Sec. Breach Litig., 396 F. Supp. 3d 1372, 1373 (J.P.M.L. 2019) (denying motion

to centralize 14 actions, where parties also notified Panel of seven potential tag-along actions).

Here, even in the unlikely event that any of these actions survives a motion to dismiss, the

surviving Agent Fee Cases can readily be managed on an individual case basis through

procedural avenues short of centralization. For instance, parties may file a related case statement

if they believe an earlier filed case is related to a prior filed case in a district court, and that

proceedings should be coordinated, which is precisely what plaintiffs to one of the Related

Actions to this putative MDL recently have done. See Fahmia, Inc. v. MUFG Americas Holding

Co., et al., 1:20-cv-04145 (S.D.N.Y. June 2, 2020), ECF No. 7. “[I]nformal coordination and

cooperative efforts by the parties and involved courts should be sufficient to minimize or

eliminate duplicative discovery and other pretrial proceedings.” In re 3M Co. Lava Ultimate

Prods. Liab. Litig., 222 F. Supp. 3d 1347, 1348 (J.P.M.L. 2016). This is especially so here,

where the same group of plaintiffs’ counsel filed most of these cases.




                                                    15
        Case WAW/2:20-cv-00864 Document 5 Filed 06/17/20 Page 16 of 24



       3. Transfer Would Cause the Parties—Especially Defendants Sued In Few
       Actions—Unnecessary Expense and Inconvenience.

       Transfer cannot “serve the convenience of the parties and witnesses” and “promote the

just and efficient conduct of the litigation” given the logistical burdens it would likely impose on

the parties and witnesses and the added expense it will cause defendants. Centralization would

require counsel for the more than 80 parties—most of which have been named as defendants in

just a few suits typically filed where, or near where, those parties are located—to travel to a

potentially distant location for MDL proceedings. These defendants will almost certainly face

substantially increased litigation costs resulting from participating in MDL proceedings in a

distant forum, as compared to expeditiously litigating their cases on an individual basis near

where they are located. And given the factual dissimilarities among cases and defendants, there

is no reasonable prospect of coordinated discovery. There are no efficiencies to be gained by

forcing a defendant—especially a relatively small defendant—that is sued in only one or a few

actions into a large complex MDL proceeding.

       4. Plaintiffs Are Trying to Force the Panel to Solve Problems of Counsel’s Own
       Making.

       Movant contends that centralization would avoid “what otherwise could become a

chaotic litigation,” or “a sprawling litigation that is unjust, inefficient, and unmanageable.”

(Mot. 11–12.) These fears are unjustified, but more importantly, the specter is a creation of

Movant’s counsel themselves. Movant’s counsel (whether together or in combination with other

counsel) filed the lawsuits in various different courts, and they presumably believed themselves

capable of litigating in the courts where they chose to file. Any “chaos” or “sprawl” would result

solely from the decision by Movant’s Counsel to file substantially identical complaints in

multiple federal districts, in a transparent attempt to justify centralization by creating the

appearance of complex litigation. “[T]he convenience of parties and witnesses” and “the just
                                                  16
        Case WAW/2:20-cv-00864 Document 5 Filed 06/17/20 Page 17 of 24



and efficient conduct of the litigation,” id. at 11, do not require the Panel to spare plaintiffs the

possible costs of counsel’s own litigation strategy, at Defendants’ expense.

    D. If Any Defendant Supports Centralization, the Panel Can Create a Defendant-
       Specific MDL.

        A few defendants have been sued in many Agent Fee Cases. If any of those defendants

supports centralization, the Panel should separate and centralize those claims involving that

specific defendant, while allowing the claims against other defendants to proceed in the

jurisdictions where they were filed.

        Section 1407 authorizes the Panel to “separate any claim, cross-claim, counter-claim, or

third-party claim and remand any of such claims before the remainder of the action is

remanded.” 28 U.S.C. § 1407(a). Consistent with this directive, the Panel has excluded from

centralized proceedings claims against some defendants when, as here, the claims are distinct

and centralization would complicate MDL proceedings. See, e.g., In re Countrywide Fin. Corp.

Mortg.-Backed Sec. Litig., 812 F. Supp. 2d 1380, 1383 (J.P.M.L. 2011); In re Light Cigarettes,

652 F. Supp. 2d 1379, 1380-81 (J.P.M.L. 2009); In re Bank of Am. Home Affordable

Modification Program (HAMP) Contract Litig., 746 F. Supp. 2d 1359, 1361 (J.P.M.L. 2010).

Following that approach here strikes the right balance between allowing any defendants that

support centralization to benefit from their hopes that efficiencies might result from a defendant-

specific MDL, while avoiding imposition of burdens and inefficiencies that will afflict other

defendants that have been sued in a few actions if they are swept into an industry-wide MDL.

    E. If the Panel Does Grant the Motion and Creates An Industry-Wide MDL, the
       Related Actions Should be Centralized in the Northern District of Georgia.

        If the Panel grants the motion to transfer—and it should not—the undersigned do not

object to consolidating the Related Actions in the Northern District of Georgia. As the Movants

themselves explain, centralization in the Northern District of Georgia makes the most sense, if
                                                  17
            Case WAW/2:20-cv-00864 Document 5 Filed 06/17/20 Page 18 of 24



these actions are to be centralized. (See Mot. at 13-17.) Because “no single district stands out as

a geographic focal point,” In re New Motor Vehicles Canadian Exp. Antitrust Litig., 269 F. Supp.

2d 1372, 1373 (J.P.M.L. 2003), the Panel should consider a transferee court that is economical

and convenient to the parties, and that has the capacity to take on this proceeding.5

        The Northern District of Georgia would be a convenient and economical location for all

parties and their counsel. The main Northern District of Georgia federal courthouse is located in

Atlanta, which is also the headquarters of a number of financial institutions involved in these

actions. Counsel for many of the defendants are located in the Southeast and along the Atlantic

seaboard, with counsel for others located near major metropolitan airports across the United

States. This District is conveniently located with access to the Hartsfield-Jackson Atlanta

International Airport, a hub for many major U.S. airlines servicing thousands of arrivals and

departures daily from cities across the country. The federal courthouse in the Northern District

of Georgia is accessible within minutes from Atlanta’s airport via car or the MARTA mass

transit system. If transfer is ordered, then both the locations of the parties and the forum’s

accessibility make the Northern District of Georgia well suited as the transferee district for this

litigation.




        5
          Neither the Southern District of New York nor the Central District of California would
be convenient or efficient forums for centralization. Although there are three agent fee cases in
the Southern District of New York, they were filed by the same attorney on behalf of two
plaintiffs. In California, the same attorney filed three of the cases. This appears to be yet
another attempt to create the appearance of numerosity in New York or California, and the Panel
should not countenance such blatant forum shopping. In any event, the Southern District of
New York already has 17 pending MDLs, and other districts are likely better equipped to handle
an MDL assignment.


                                                 18
           Case WAW/2:20-cv-00864 Document 5 Filed 06/17/20 Page 19 of 24



       The Northern District of Georgia is also experienced with handling MDLs and currently

has sufficient resources to take on a new case, with only four currently pending MDLs.6 And if

centralization occurs in the Northern District of Georgia, there is no reason to reassign these

cases to a different judge. When Judge May recused herself from the case after Movants filed

their Motion, the case was reassigned to Judge Michael L. Brown. Judge Brown is a similarly

capable jurist, and he currently does not have any MDL proceedings on his docket.

       Movants have secondarily suggested the District of Arizona, but that forum is far less

convenient as compared to the Northern District of Georgia. Notably, far fewer of the

defendants in the Related Actions have ties to Arizona, and none of the main defendants’ counsel

is headquartered in or near Arizona. Litigating in Arizona would thus require substantial travel

for all of the defendants, key witnesses, and defendants’ counsel. Furthermore, the District of

Arizona takes almost twice as long to dispose of civil cases than does the Northern District of

Georgia.7

 V.    Conclusion

       For the foregoing reasons, the undersigned Defendants respectfully request that the Panel

deny the Motion.




       6
        See MDL Statistics Report - Distribution of Pending MDL Dockets by District, as of
May 15, 2020, available at https://www.jpml.uscourts.gov/sites/jpml/files/Pending_MDL_
Dockets_By_Actions_Pending-May-15-2020.pdf.
       7
          See United States District Courts, National Judicial Caseload Profile, available at
https://www.uscourts.gov/sites/default/files/data_tables/fcms_na_distprofile1231.2019.pdf (last
visited June 12, 2020).
                                                19
       Case WAW/2:20-cv-00864 Document 5 Filed 06/17/20 Page 20 of 24



Dated: June 17, 2020                      Respectfully submitted,



                                          /s/ Paul J. Nathanson
                                          Paul J. Nathanson
                                            District of Columbia Bar #982269
                                          DAVIS POLK & WARDWELL LLP
                                          901 15th Street, N.W.
                                          Washington, D.C. 20005
                                          paul.nathanson@davispolk.com
                                          (202) 962-7000

                                           Counsel for Defendant Synovus Bank

                                           /s/ Benjamin J. Razi w/ permission
                                           Benjamin J. Razi
                                             District of Columbia Bar # 475946
                                           COVINGTON & BURLING LLP
                                           One CityCenter
                                           850 Tenth Street NW
                                           Washington, DC 20001
                                           brazi@cov.com
                                           (202) 662-6000

                                           Counsel for Defendant Ameris Bank

                                           /s/ Andrew Soukup w/ permission
                                           Andrew Soukup
                                             District of Columbia Bar #995101
                                           COVINGTON & BURLING LLP
                                           One CityCenter
                                           850 Tenth Street NW
                                           Washington, DC 20001
                                           asoukup@cov.com
                                           (202) 662-6000

                                           Counsel for Defendants Celtic Bank Corp. d/b/a
                                           Celtic Bank, MUFG Union Bank N.A., and
                                           MUFG Americas Holding Co.




                                     20
Case WAW/2:20-cv-00864 Document 5 Filed 06/17/20 Page 21 of 24




                                   /s/ Ashley M. Simonsen w/ permission
                                   Ashley M. Simonsen
                                     California Bar #275203
                                   COVINGTON & BURLING LLP
                                   1999 Avenue of the Stars
                                   Los Angeles, CA 90067
                                   asimonsen@cov.com
                                   (424) 332-4800

                                   Counsel for Defendant City National Bank

                                   /s/ Nathaniel Lampley, Jr. w/ permission
                                   Nathaniel Lampley, Jr.
                                     Ohio Bar #0041543
                                   VORYS, SATER, SEYMOUR AND PEASE
                                   LLP
                                   301 East Fourth Street
                                   Great American Tower, Suite 3500
                                   Cincinnati, Ohio 45202
                                   nlampley@vorys.com
                                   (513) 723-4616
                                   (513) 852-7869 (facsimile)

                                   Counsel for Defendants Fifth Third Bank,
                                   National Association and Fifth Third Bancorp

                                   /s/ Roy W. Arnold w/ permission
                                   Roy W. Arnold
                                     PA I.D. 70544
                                   BLANK ROME LLP
                                   501 Grant Street, Suite 850
                                   Pittsburgh, PA 15219
                                   rarnold@blankrome.com
                                   (412) 932-2800
                                   (412) 932-2777 (facsimile)

                                   Counsel for Defendants First National Bank of
                                   Pennsylvania and F.N.B. Corp.




                              21
Case WAW/2:20-cv-00864 Document 5 Filed 06/17/20 Page 22 of 24



                                   /s/ Casey B. Howard w/ permission
                                   Casey B. Howard
                                   LOCKE LORD LLP
                                   Brookfield Place
                                   200 Vesey Street, 20th Floor
                                   New York, NY 10281-2
                                   choward@lockelord.com
                                   (212) 415-8600

                                   Counsel for Defendant Harvest Small Business
                                   Finance, LLC

                                   /s/ Elaine Golin w/ permission
                                   Elaine Golin
                                   WACHTELL, LIPTON, ROSEN & KATZ
                                   51 West 52nd Street
                                   New York, NY 10019
                                   EPGolin@wlrk.com
                                   (212) 403-1000

                                   Counsel for Defendants Huntington Bancshares
                                   Incorporated and The Huntington National Bank

                                   /s/ Christopher M. McLaughlin w/ permission
                                   Christopher M. McLaughlin
                                     Ohio Bar No. 0078186
                                   JONES DAY
                                   North Point, 901 Lakeside Avenue
                                   Cleveland, OH 44114-1190
                                   cmmclaughlin@jonesday.com
                                   (216) 586-7507

                                   Counsel for Defendants KeyCorp and KeyBank
                                   N.A.

                                   /s/ Henry L. Kitchin, Jr. w/ permission
                                   Henry L. Kitchin, Jr.
                                   MCGUIREWOODS LLP
                                   300 North Third Street, Suite 320
                                   Wilmington, North Carolina 28401
                                   hkitchin@mcguirewoods.com
                                   (910) 254-3800
                                   (910) 254-3900 (facsimile)

                                   Counsel for Defendant Live Oak Banking
                                   Company


                              22
Case WAW/2:20-cv-00864 Document 5 Filed 06/17/20 Page 23 of 24



                                    /s/ James R. McGuire w/ permission
                                    James R. McGuire
                                    BUCKLEY LLP
                                    555 California Street, Suite 4925
                                    San Francisco, CA 94104
                                    jmcguire@buckleyfirm.com
                                    (415) 619-3415

                                    Counsel for Defendant MidFirst Bank

                                    /s/ Ryan S. Lett w/ permission
                                    Ryan S. Lett (0088381)
                                    FROST BROWN TODD LLC
                                    3300 Great American Tower
                                    301 East Fourth Street
                                    Cincinnati, Ohio 45202
                                    (513) 651.6800 Telephone
                                    (513) 651.6981 Facsimile
                                    rlett@fbtlaw.com

                                    Counsel for Defendant The North Side Bank &
                                    Trust Company

                                    /s/ Jonathan M. Moses w/ permission
                                    Jonathan M. Moses
                                    WACHTELL, LIPTON, ROSEN & KATZ
                                    51 West 52nd Street
                                    New York, NY 10019
                                    JMMoses@wlrk.com
                                    (212) 403-1000

                                    Counsel for Defendants PNC Financial Services
                                    Group, Inc. and PNC Bank N.A.

                                   /s/ Logan T. Matthews w/ permission
                                   Logan T. Matthews
                                   LIGHTFOOT, FRANKLIN & WHITE, LLC
                                   The Clark Building
                                   400 20th Street North
                                   Birmingham, Alabama 35203
                                   lmatthews@lightfootlaw.com
                                   (205) 581-0700

                                   Counsel for Defendant ServisFirst Bank



                              23
Case WAW/2:20-cv-00864 Document 5 Filed 06/17/20 Page 24 of 24



                                   /s/ Cheryl L. Haas w/ permission
                                   Cheryl L. Haas
                                    Georgia Bar No. 316081
                                   MCGUIREWOODS LLP
                                   1230 Peachtree Street, N.E., Suite 2100
                                   Atlanta, GA 30309
                                   chaas@mcguirewoods.com
                                   (404) 443-5500
                                   (404) 443-5599 (facsimile)

                                   Counsel for Truist Bank and Truist Financial
                                   Corporation


                                   /s/ Michael S. Kraut w/ permission
                                   Michael S. Kraut
                                   MORGAN, LEWIS & BOCKIUS LLP
                                   101 Park Avenue
                                   New York, NY 10178-0060
                                   michael.kraut@morganlewis.com
                                   (212) 309-6000
                                   (212) 309-6001 (facsimile)

                                   Counsel for Defendants U.S. Bancorp and U.S.
                                   Bank National Association




                              24
